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EXHIBIT B
 

 

 

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IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PHILADELPHIA

  
  

 

CIVIL TRIAL DIVISION
ype SERIES SENT
GREGORY CLARK and LINDA June Term 2004 UP "CCP 236(b)
MEASHEY, yn. One
Plaintiffs, No. 1819 FEB 9 ~ 20u9
V. : FIRS BAL ISTRICT OF PA
PFIZER INC, and WARNER-LAMBERT : Commerce ProgramlU ar He
COMPANY, LLC,
Defendants. : Control Nos. 061293/061291
NOCKETER
ORDER rosie F990

AND NOW, this 4 th day of February 2009, upon consideration of = HVLA
Defendants Motion for Summary Judgment and Motion for Decertification, all responses
in opposition and in accord with the attached Opinion, it hereby is ORDERED as
follows:

1. Summary Judgment is granted on plaintiffs’ class claims for breach of

warranty.

2. Summary Judgment is granted as to all class claim as to members of the class

who actually benefited from off label use of Neurontin.

3. All other aspects of the Motion for Summary Judgment are denied.

4. The Motion for Class Decertification is granted.

   
  

5. Trial scheduled for March 9, 2009 shall proceed as individual clai

continuance is requested in light of these rulings.

BY THE COURT, 4G ;

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